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      8
                                UNITED STATES DISTRICT COURT
      9
                              CENTRAL DISTRICT OF CALIFORNIA
     10
     11 JACOB KNIGHT, JACK CRIBBS,       )             Case No.: 8:22-cv-00967-DOC-(KESx)
        and JASON DOHSE, individually    )
     12 and on behalf all others similarly
                                         )             Assigned to Hon. David O. Carter
        situated,                        )
     13                                  )             Action Filed: May 10, 2022
                          Plaintiffs,    )
     14                                  )             DECLARATION OF JANEEN
               v.                        )             CARLBERG IN SUPPORT OF
     15                                  )             MOTION TO TRANSFER VENUE
          WATA, INC., and COLLECTORS., )
     16   UNIVERSE, INC,                 )             [Filed concurrently with Plaintiffs’
                                         )             Opposition to Defendants’ Motion to
     17                   Defendants.    )             Transfer Venue]
                                         )
     18                                  )             Hearing on Motion:
                                         )             Date:      July 25, 2022
     19                                  )             Time:      8:30 a.m.
          _______________________________)             Dept.:     10A
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           DECLARATION OF CARLBERG AND EXHIBITS IN SUPPORT OF OPPOSITION TO MOTION TO TRANSFER VENUE
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      1                      DECLARATION OF JANEEN CARLBERG
      2          I, Janeen Carlberg, am an attorney at law, duly licensed to practice and
      3   admitted before all the Courts of the State of California and the United States
      4   Central District. I am the attorney of record in the matter of Knight, et al. v. Wata,
      5   Inc., et al. I am familiar with the facts stated herein and, if called to testify, I could
      6   and would competently testify thereto.
      7          1.     This Declaration is made in support of Plaintiffs’ Opposition to
      8   Defendants’ Motion to Transfer Venue.
      9          2.     I have conducted independent investigations on this matter,
     10   including review press articles, press releases in the public, webpages and
     11   reviewing Wata public announcements and statements. On June 1, 2022, I
     12   navigated the Wata website and saved each page of the order process attached to
     13   this Opposition.
     14          3.     Defendant provides video game grading services. Customers engage
     15   Defendants services through its website: www.watagames.com. Customers are
     16   required to go to the watagames.com website and follow a series of steps to
     17   purchase Defendants services.
     18          4.     Attached hereto as Exhibit 1 is a true and correct copy of a
     19   screenshot of the Wata home page in Wata’s landing site which demonstrate Step
     20   1 of Wata’s website in order.
     21          5.     Attached hereto as Exhibit 2 is a true and correct copy of a
     22   screenshot of the “Submit a Game” tab from Wata’s website which demonstrate
     23   Step 2 of Wata’s website in order.
     24          6.     Attached hereto as Exhibit 3 is a true and correct copy of a
     25   screenshot of the “Tell us what you’ve got” page of the Wata’s website which
     26   demonstrate Step 1 of Wata’s website in order.
     27          7.     Attached hereto as Exhibit 4 is a true and correct copy of a
     28   screenshot of the Wata’s website page “Help us with the details” where customers
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           DECLARATION OF CARLBERG AND EXHIBITS IN SUPPORT OF OPPOSITION TO MOTION TO TRANSFER VENUE
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      1   can see the “Game Details” which demonstrate Step 4 of Wata’s website in order.
      2         8      Attached hereto as Exhibit 5 is a true and correct copy of a
      3   screenshot of the Wata’s website page “Options+Add-ons” which demonstrate
      4   Step 5 of Wata’s website in order.
      5         9.     Attached hereto as Exhibit 6 is a true and correct copy of a
      6   screenshot of the Wata’s website page that says “Success” in large, bold font and
      7   notes “game successfully added to the queue below!” which demonstrate Step 6
      8   of Wata’s website in order.
      9         10.    Attached hereto as Exhibit 7 is a true and correct copy of a
     10   screenshot of the Wata’s checkout page which demonstrate Step 7 of Wata’s
     11   website in order.
     12         11.    Attached hereto as Exhibit 8 is a true and correct copy of a
     13   screenshot of the Wata’s website requesting the customers’ shipping address
     14   which demonstrate Step 8 of Wata’s website in order.
     15         12.    Attached hereto as Exhibit 9 is a true and correct copy of a
     16   screenshot of the Wata’s “Order Summary” which demonstrate Step 8 of Wata’s
     17   website in order.
     18         13.    Attached hereto as Exhibit 10 is a true and correct copy of a
     19   screenshot of the Wata’s “payment method” page which demonstrate Step 10 of
     20   Wata’s website in order.
     21         14.    Attached hereto as Exhibit 11 is a true and correct copy of a
     22   screenshot of the Wata’s Services Agreement.
     23         15.    Plaintiff Jacob Knight is a California resident. Mr. Knight placed his
     24   order for grading services with Wata on June 3, 2020 when the company operated
     25   out of Colorado, however, he did not receive his game back until March 3, 2022,
     26   after the company moved to California. Mr. Knight’s items were shipped back to
     27   him from the California facility. Attached hereto as Exhibit 12 is a true and
     28   correct copy of Mr. Knight’s declaration.
                                                       3
           DECLARATION OF CARLBERG AND EXHIBITS IN SUPPORT OF OPPOSITION TO MOTION TO TRANSFER VENUE
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      1         16.    The filing of this action has been a noteworthy event and I have been
      2   in contact with dozens of individuals seeking to act as plaintiffs. At least six of
      3   these individuals are residents of California. At least a dozen other individuals
      4   confirmed to having received the return of their games from the Wata California
      5   facility. If the court requires more evidence of contacts with California, I can
      6   provide additional declarations.
      7         17.    On or about July 14, 2021, a press release indicated that Wata had
      8   been sold to CU. This is one of many stories available on the Internet. Attached
      9   hereto as Exhibit 13 is a true and correct copy of that press release.
     10         18.    On September 23, 2021, a press release indicated the company “will
     11   move from its Denver offices into PSA’s headquarters in California, but will keep
     12   its name and branding.” This is one of many stories available on the Internet.
     13   Attached hereto as Exhibit 14 is a true and correct copy of that press release.
     14         19.    On November 11, 2021, Wata sent out an announcement stating the
     15   company was relocating to Southern California. I received this from Wata.
     16   Attached hereto as Exhibit 15 is a true and correct copy of the announcement.
     17         20.    On December 17, 2021, Wata sent another announcement stating the
     18   “moving van” was “in transit.” I received this from Wata. Attached hereto as
     19   Exhibit 16 is a true and correct copy of the announcement.
     20         21.    Thereafter, the address on the Wata website was changed to reflect
     21   the Santa Ana location. This is evidence from Wata’s own website and in
     22   communications from the company with customers, which I was also receiving.
     23   Attached hereto as Exhibit 17 is a true and correct copy of Watas’ website
     24   reflecting the Santa Ana address.
     25         22.    On March 29, 2022, Wata published a Twitter post that stated the
     26   company was keeping operations open in Colorado through April 30, 2022. I
     27   saved this from Twitter on June 29, 2022. Attached hereto as Exhibit 18 is a true
     28   and correct copy the twitter post
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           DECLARATION OF CARLBERG AND EXHIBITS IN SUPPORT OF OPPOSITION TO MOTION TO TRANSFER VENUE
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      1         23.    I sent the a certified letter by way of U.S. Mail of Notice of the
      2   California Legal Remedies Act (CLRA) to Wata, Inc.’s agent for service of
      3   process, Deniz Khan in Denver, Colorado on May 9, 2022. The Since then the
      4   Colorado facility appears to have closed and the return receipt was sent back
      5   without signature. Thereafter, defense counsel acknowledge the letter, which was
      6   also sent certified to California addresses was received.
      7         24.    Wata, Inc.’s CEO Deniz Khan’s public LinkedIn page, states that he
      8   currently resides in Costa Mesa, California. Attached hereto as Exhibit 19 is a
      9   true and correct copy of Mr. Khan’s LinkedIn page which is publicly accessible
     10   on the Internet. I saved this on June 29, 2022.
     11         25.    Current job postings for Wata appear on the Collectors Universe
     12   website and identify CU as the employer and treat Wata as a division rather than a
     13   separate business entity. Attached hereto as Exhibit 20 is a true and correct copy
     14   of the job posting which is publicly accessible at the Collectors Universe website.
     15   I accessed and saved this on June 29, 2022.
     16         26.    The current job posting also note that CU employees more than
     17   1,000 employees in Santa Ana and identifies the states where CU operates and
     18   Colorado is not listed. Attached hereto as Exhibit 20 is a true and correct copy of
     19   the job posting which is publicly accessible at the Collectors Universe website. I
     20   accessed and saved this on June 29, 2022.
     21         27.    I performed a search through the California Secretary of State’s
     22   website. Based on my search I can deduct that Wata, Inc. NEVER registered as a
     23   foreign corporation qualified to do business in the state. Attached hereto as
     24   Exhibit 21 is a true and correct copy of the California Secretary of State search.
     25   There is no way to order official documents for a company that does not exist. I
     26   have made this search multiple times from September of 2021 until the present
     27   time. The copy attached is from June 30, 2022.
     28         28.    Attached hereto as Exhibit 22 is a true and correct copy of a of a
                                                       5
           DECLARATION OF CARLBERG AND EXHIBITS IN SUPPORT OF OPPOSITION TO MOTION TO TRANSFER VENUE
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      1   certified copy of Collectors Universe’s Statement of Information on file with the
      2   California Secretary of State showing all of the company’s officers and located in
      3   Santa Ana, California.
      4         29.    Attached hereto as Exhibit 23 is a true and correct copy of
      5   Defendants response to Plaintiff’s letter of notice of California Legal Remedies
      6   Act (CLRA) which states that Collectors’ Universe should be dismissed as it is
      7   essentially a separate entity from Wata.
      8         I declare under penalty of perjury under the laws of the United States of
      9   America that the forgoing is true and correct to the best of my knowledge,
     10   information and belief.
     11         Executed this 1st day of July of 2022 at Santa Ana, California.
     12
     13                                                     /s/ Janeen Carlberg
                                                           Janeen Carlberg, Declarant
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           DECLARATION OF CARLBERG AND EXHIBITS IN SUPPORT OF OPPOSITION TO MOTION TO TRANSFER VENUE
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                        EXHIBIT 1
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                        EXHIBIT 2
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                                  #:261
Case 8:22-cv-00967-DOC-KES Document 25-1 Filed 07/01/22 Page 11 of 65 Page ID
                                  #:262




                      EXHIBIT 3
Case 8:22-cv-00967-DOC-KES Document 25-1 Filed 07/01/22 Page 12 of 65 Page ID
                                  #:263
Case 8:22-cv-00967-DOC-KES Document 25-1 Filed 07/01/22 Page 13 of 65 Page ID
                                  #:264




                      EXHIBIT 4
Case 8:22-cv-00967-DOC-KES Document 25-1 Filed 07/01/22 Page 14 of 65 Page ID
                                  #:265
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                                  #:266




                      EXHIBIT 5
Case 8:22-cv-00967-DOC-KES Document 25-1 Filed 07/01/22 Page 16 of 65 Page ID
                                  #:267
Case 8:22-cv-00967-DOC-KES Document 25-1 Filed 07/01/22 Page 17 of 65 Page ID
                                  #:268




                      EXHIBIT 6
Case 8:22-cv-00967-DOC-KES Document 25-1 Filed 07/01/22 Page 18 of 65 Page ID
                                  #:269
Case 8:22-cv-00967-DOC-KES Document 25-1 Filed 07/01/22 Page 19 of 65 Page ID
                                  #:270




                      EXHIBIT 7
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                                  #:271
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                                  #:272




                      EXHIBIT 8
Case 8:22-cv-00967-DOC-KES Document 25-1 Filed 07/01/22 Page 22 of 65 Page ID
                                  #:273
Case 8:22-cv-00967-DOC-KES Document 25-1 Filed 07/01/22 Page 23 of 65 Page ID
                                  #:274




                      EXHIBIT 9
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                                  #:275
Case 8:22-cv-00967-DOC-KES Document 25-1 Filed 07/01/22 Page 25 of 65 Page ID
                                  #:276




                    EXHIBIT 10
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                                  #:277
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                                  #:278




                    EXHIBIT 11
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                          #:279




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             5/N@/0#)%&=%?3@%+3%'3#%6"?%#;/%"++7#73'"4%=//0
             *35%7=%?3@5%:7+/3%9"./0%"5/%'3#%7'%"%(3'+7#73'
             #;"#% "443>0% !"#"% #3% 6/5=35.% #;/% </5:7(/01$
             #;/'%!"#"%>744%'3#%6/5=35.%#;/%</5:7(/0%"'+
             >744% 5/#@5'% ?3@5% :7+/3% 9"./% #3% ?3@% "'+
             5/=@'+% "'?% "6647(",4/% 6"?./'#0$% .7'@0
             !"#"M0% 0#"'+"5+% 35+/5% 5/O/(#73'% =//0$
             7'0@5"'(/% (30#0$% "'+% 0;7667'9% "'+% ;"'+47'9
             /P6/'0/0)
        #"# &=%"'?%3=%?3@5%:7+/3%9"./0%"5/%+"."9/+$%430#
             35%+/0#53?/+%"#%"'?%637'#%"=#/5%!"#"%5/(/7:/0
             #;/% 9"./0$% >;74/% !"#"% 70% 6/5=35.7'9% #;/
             </5:7(/0$%35%+@57'9%#5"'07#%=53.%!"#"M0%="(747#?
             ,"(G%#3%?3@$%?3@5%034/%5/./+?%70$%"'+%!"#"M0
             ."P7.@.% 47",747#?% >744% ,/% /N@"4% #3% "'+% '3#
             /P(//+% @'+/5% "'?% (75(@.0#"'(/0$% #;/% 4/00/5
             3=%#;/%*"1%7'0@5/+%:"4@/%3=%/"(;%9"./%"'+%*,1
             #;/% ="75S."5G/#% :"4@/% 5/64"(/./'#% (30#% 3=
             /"(;% 9"./)% T3@% 0/4/(#% #;/% 7'0@5/+% :"4@/% 3=
             /"(;% 9"./% >;/'% ?3@% 0/'+% #;/% 9"./% #3
             !"#"$% "'+% #;/% ".3@'#% ?3@% 0/4/(#% 70% ?3@5
             5/063'07,747#?)% U;/% 7'0@5"'(/% ?3@% 6@5(;"0/
             =35% ?3@5% 9"./0% (3:/50% #;/% 9"./0% +@57'9
             0;76./'#% #3% !"#"M0% ="(747#?$% >;74/% #;/% 9"./0
             "5/% 7'% !"#"M0% 6300/0073'$% "'+% +@57'9
             0;76./'#%,"(G%#3%#;/%"++5/00%?3@%653:7+/%7'
             ?3@5% 35+/5)% &=% !"#"% +/#/5.7'/0% "% ;79;/5
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             5/N@75/+%*"0%+/0(57,/+%",3:/1%"'+%>744%3,#"7'
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        >35G."'0;76% +/=/(#0% =35% "% 6/573+% 3=% 3'/% ?/"5
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        >35G."'0;76%35%653+@(#%+/=/(#%70%5/:/"4/+%+@57'9
        #;/% >"55"'#?% 6/573+% 7'% #;/% #".6/5S/:7+/'#% ("0/
        #;"#%?3@%5/(/7:/$%#;/'%!"#"%>744%/'("0/%#;/%:7+/3
        9"./% 7'% "% '/>% ("0/$% =5//% 3=% (;"59/$% "=#/5% ?3@
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        47.7#/+% >"55"'#?% 70% :37+/+% 7'% =@44% 7=% #;/% 9"./% >"0
        5/.3:/+% =53.% #;/% ("0/% "#% "'?% #7./% 35% 7=% #;/
        +"."9/%#3%#;/%("0/%"530/%=53.%#;/%>"?%#;/%("0/
        >"0% ;"'+4/+% 35% 0#35/+)% V"'+47'9% /'("0/+% :7+/3
        9"./0% >7#;% ("5/% "'+% 0#357'9% #;/.% 6536/54?% 7'% "
        +"5G$% 7..3,74/% "'+% #/.6/5"#@5/S% "'+% ;@.7+7#?S
        (3'#5344/+% 43("#73'% 70% '/(/00"5?% #3% ."7'#"7'% #;/
        (3'+7#73'% 3=% #;/% ("0/0% "'+% #;/% 9"./0)% WP6307'9
        "'% /'("0/+% 9"./% #3% /P#5/./% #/.6/5"#@5/0% 35
        3#;/5% /':753'./'#"4% ="(#350% *0@(;% "0% .370#@5/$
        479;#$% .3:/./'#% 35% 3#;/5% ;"Q"5+01% 35% 65/00@57'9$
        #;53>7'9$%047+7'9$%+53667'9$%;7##7'9%35%"##/.6#7'9%#3
        36/'% "'% /'("0/+% :7+/3% 9"./% ("'% '/9"#7:/4?
        7.6"(#% #;/% 9"./% "'+% #;/% ("0/% "'+% :37+% !"#"M0
        47.7#/+%>"55"'#?)
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        &Y2Z`E&Y-$%!&UVR`U%Z&[&UAU&RY$%AYT%&[DZ&WE
        !AXXAYUT% R\% [WX2VAYUAF&Z&UT$% \&UYW<<% \RX
        A% DAXU&2`ZAX% D`XDR<W$% U&UZW% RX% YRYS
        &Y\X&Y-W[WYU% AYEaRX% AYT% !AXXAYU&W<
        AX&<&Y-% R`U% R\% A% 2R`X<W% R\% EWAZ&Y-% RX
        2R`X<W%R\%DWX\RX[AY2W)%!&UVR`U%Z&[&U&Y-
        UVW% \RXW-R&Y-$% !AUA% ERW<% YRU% !AXXAYU
        UVAU% UVW% <WX]&2W<% RX% UVW% UA[DWXSW]&EWYU
        2A<W% !&ZZ% [WWU% TR`X% XWb`&XW[WYU<% RX
        W_DW2UAU&RY<%RX%UVAU%TR`%!&ZZ%RFUA&Y%AYT
        DAXU&2`ZAX% XW<`ZU% FT% `<W% R\% UVW% <WX]&2W<
        RX%UVW%UA[DWXSW]&EWYU%2A<W)
   &    3*#(>>(.#4">: 7'2?('#<)% T3@% "(G'3>4/+9/% #;"#
        !"#"% 70% "'+% >744% 5/."7'% #;/% 034/% "'+% /P(4@07:/
        3>'/5%3=%"44%579;#$%#7#4/%"'+%7'#/5/0#%7'%"'+%#3%!"#"M0
        7'#/44/(#@"4% 6536/5#?$% 7'(4@+7'9$% >7#;3@#% 47.7#"#73'$
        !"#"M0%653657/#"5?%./#;3+34397/0$%#".6/5S/:7+/'#
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        653(/00/0$% #/(;'3439?% "'+% "'?% "'+% "44
        7.653:/./'#0$%          /';"'(/./'#0$%           @6+"#/0$
        @695"+/0% "'+% .3+7=7("#73'0% #3% "'?% 3=% #;/
        65/(/+7'9% *>;/#;/5% 35% '3#% ."+/% 7'% (3'O@'(#73'
        >7#;%#;70%A95//./'#1$%"'+%"44%6"#/'#$%#5"+/%0/(5/#$
        (36?579;#$%#5"+/."5G%"'+%3#;/5%653657/#"5?%579;#0
        >354+>7+/% /.,3+7/+% 7'% /"(;% 3=% #;/% 65/(/+7'9)
        T3@% "95//% '3#% #3% +70"00/.,4/$% 5/:/50/% /'97'//5$
        +/(3.674/$% (36?% 35% 3#;/5>70/% @0/% "'?% 3=% !"#"M0
        7'#/44/(#@"4%6536/5#?)%&'%'3%/:/'#%>744%?3@%#"G/%"'?
        "(#73'% #;"#% .79;#% /'(@.,/5% 35% /P630/% !"#"M0
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        =35.0% 3=% /'(@.,5"'(/)% A#% !"#"M0% 5/N@/0#$% ?3@
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        ."7'#"7'% "'?% 5/970#5"#73'0% =35% !"#"M0% 7'#/44/(#@"4
        6536/5#?%35%#3%653#/(#%!"#"M0%3>'/50;76%3=%!"#"M0
        7'#/44/(#@"4%6536/5#?)
   '    ;-)-#"#-2*/: 2@: ;-"A->-#<)% !&UV% UVW% W_2WDU&RY
        R\% EA[A-W<% AX&<&Y-% \XR[% W&UVWX% DAXUTM<
        !&ZZ\`Z% [&<2RYE`2U% RX% TR`X% FXWA2V% R\
        <W2U&RY%c%*&YUWZZW2U`AZ%DXRDWXUT1$%*H1%&Y%YR
        W]WYU% !&ZZ% W&UVWX% DAXUT% FW% Z&AFZW% \RX% AYT
        2RY<Wb`WYU&AZ$%        &YE&XW2U$%     W_W[DZAXT$
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        &Y2Z`E&Y-$% !&UVR`U% Z&[&UAU&RY$% AYT% ZR<U
        EAUA$% ZR<U% ]&EWR% -A[W<% RX% RUVWX
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        DXR2`XW[WYU% R\% <`F<U&U`UW% -RRE<% RX
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        A-XWW[WYU$% UVW% `<W% R\% RX% &YAF&Z&UT% UR% `<W
        UVW% <WX]&2W<$% VR!W]WX% 2A`<WE% AYE% `YEWX
        AYT% UVWRXT% R\% Z&AF&Z&UT% *&Y2Z`E&Y-
        2RYUXA2U$% <UAU`UW$% URXU% RX% YW-Z&-WY2W1$
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        DR<<&F&Z&UT% R\% <`2V% EA[A-W<I% AYE% *J1
        YRU!&UV<UAYE&Y-% AYTUV&Y-% VWXW&Y% UR% UVW
        2RYUXAXT$% UVW% URUAZ% 2`[`ZAU&]W% Z&AF&Z&UT
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        !"55"'#?1$% e% *E70(4"7./51$% c% *&'#/44/(#@"4% D536/5#?1$
        f% *Z7.7#"#73'0% 3=% Z7",747#?1$% g% *U/5.1% "'+% h
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             @'+/50#"'+7'90%,/#>//'%?3@%"'+%!"#"$%"0%#3
             #;/% 0@,O/(#% ."##/5% 3=% #;70% A95//./'#)% U;70
             A95//./'#%."?%,/%(;"'9/+%3'4?%,?%"%>57##/'
             "./'+./'#%079'/+%,?%?3@%"'+%!"#")
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             "0%"6647/+%#3%"95//./'#0%."+/$%/'#/5/+%7'#3
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             3#;/5>70/%>7#;%5/06/(#%#3$%#;70%A95//./'#%>744
             ,/%,53@9;#%"'+%."7'#"7'/+%7'%#;/%<#"#/%"'+
             \/+/5"4%(3@5#0%43("#/+%7'%#;/%27#?%"'+%23@'#?
             3=%E/':/5$%23435"+3$%"'+%#;/%6"5#7/0%;/5/,?
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             O@570+7(#73'%3=%0@(;%(3@5#0%"'+%>"7:/%"'?%"'+
             "44%3,O/(#73'0%#3%0@(;%:/'@/%"'+%O@570+7(#73'$
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             =35% "'?% 6/573+% "'+% #3% #;/% /P#/'#% #;"#% /7#;/5
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             6"5#?M0% 3,479"#73'0% @'+/5% #;70% A95//./'#$% 7'
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             0@(;% "0% "'% "(#% 3=% -3+$% >"5% *>;/#;/5% 35% '3#
             "(#@"44?% +/(4"5/+1$% 573#% 35% 3#;/5% "(#% 3=% (7:74
             +703,/+7/'(/$% 93:/5'./'#"4% "(#$% O@+7(7"4
             "(#73'$% /P643073'$% "(#% 3=% #/553570.% 35% #;5/"#
             #;/5/3=% *7'(4@+7'9% (?,/5#/553570.1$% '"#@5"4
             +70"0#/5$% +/0#5@(#73'% ,?% 479;#'7'9$% =75/$
             /"5#;N@"G/$% #0@'".7$% =433+$% 0#57G/% 35% 43(G3@#
             35% 4",35% +706@#/$% 65343'9/+% 7'#/5'/#% 3@#"9/$
             (3..@'7("#73'0%47'/%="74@5/%35%63>/5%="74@5/)
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             O37'#% :/'#@5/% 35% /.643?./'#% 5/4"#73'0;76% 70
             7'#/'+/+%35%(5/"#/+%,?%#;70%A95//./'#)%&=%"'?
             653:7073'% ;/5/7'% 70% ;/4+% #3% ,/% 7':"47+% 35
             @'/'=35(/",4/%=35%"'?%5/"03'$%#;/%5/."7'7'9
             653:7073'0% >744% (3'#7'@/% 7'% =@44% =35(/% >7#;3@#
             ,/7'9%7.6"75/+%35%7':"47+"#/+%7'%"'?%>"?)%T3@
             "'+% !"#"% "95//% #3% 5/64"(/% "'?% 7':"47+
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             >"7:/5% 3=% "% ,5/"(;% 3=% "'?% 653:7073'% 3=% #;70
             A95//./'#%>744%'3#%36/5"#/%35%,/%7'#/565/#/+
             "0% "% >"7:/5% 3=% "'?% 3#;/5% 35% 0@,0/N@/'#
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   2,#;&3.1<-'13'=

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   *'2"*-,1/& ?.*& *'#*.& /"0'& 3.44'3#.*%& .?& "44& #9)'%=
   D*"-,1/& /"0'%& "1-& C1.2,1/& 2;"#& 9.>& ;"+'& ,%& #;'
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              1                          DECLARATION OF JACOB KNIGHT
              2            I, the undersigned, Jacob Knight, am a Plaintiff in this action. I have personal
              3    knowledge of the matters stated herein. If called to testify thereto, I could and would
              4    competently do so.
              5            1.     This Declaration is made in support of Plaintiffs Complaint.
              6            2.     I am a video game collector from California. At all times relevant
              7    herein, I resided in California.
              8            3.     On June 8, 2020, I placed Order No. 575734 with Wata through their
              9    website. My order requested grading services for three (3) games. I ordered the
             10    "Select" service level which called for one hundred eight (180) business day
             II    estimated turnaround time.
             12            4.     I shipped my games to Wata's Colorado facility.
             I3            5.     I estimate Wata received the games on or about June 15, 2020.
             14            6.     One hundred eighty (180) business days from the estimated date of
             15    Wata's receipt of the games at the Colorado facility would have been March 9,
             I6    2021.
             I7            7.     March 9, 2021 came and passed but I did not receive my games.
             18            8.     On March 3, 2022, almost a year after I expected to receive his games
             19    back, I received notice that my games had finally shipped. The address noted on the
             20    shipping e-mail from Wata reflected a Santa Ana, California address. In all, nearly
             21    twenty-one (21) months passed from the time of order until the time that I received
             22    my graded games.
             23            I, Jacob Knight declare under penalty of perjury of the laws of the United
             24    States of America that the foregoing is true and correct.
                                                                    5/9/2022
             25          This Declaration was executed on ------------------ in the State of
             26    California.
             27
                                                                                   Jacob Kmght, Declarant
             28

                                                     Declaration of Jacob Knight
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                    EXHIBIT 13
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Collectors Universe Expands Into Video Game
Authentication & Grading with Acquisition of Wata
Games
   businesswire.com/news/home/20210714005598/en/Collectors-Universe-Expands-Into-Video-Game-Authentication-
Grading-with-Acquisition-of-Wata-Games

                                                                                                  July 14, 2021




SANTA ANA, Calif.--(BUSINESS WIRE)--Collectors Universe, a leading provider of value-
added authentication and grading services, announces it is expanding into the collectible
video game industry with the acquisition of Wata Games.

Wata Games is the trusted pioneer in the video game collectibles industry. As the foremost
video game grading service, Wata elevated the collectible video game market with its focus
on accuracy and objectivity and enabled the industry to grow quickly. The company’s grading
process ensures complete transparency and integrity with detailed grading on a scale of 1-
10. As the gold standard in video game authentication, games graded by Wata regularly sell
for record prices. In addition to the $1.56 million Super Mario 64 sale, other Wata-graded
games that have set records include a 1987 early production copy of The Legend of Zelda,
which sold for $870,000 as well as a copy of Super Mario Bros. for NES, which sold for
$660,000.

“We founded Wata to elevate the video game hobby and grow the industry overall by adding
legitimacy, transparency and professionalism to it,” said Deniz Kahn, President and Founder
of Wata Games. “Nat and the entire Collectors Universe team have demonstrated a
commitment to expertise and are investing in the business for the benefit of hobbyists and
consumers. With their expertise and resources, Wata will be better able to service its growing
demand, fuel the hobby and provide new and long-time customers with the best experience
possible.”




                                                                                                                  1/2
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The acquisition of Wata Games marks the first major categorical expansion beyond trading
cards, sports memorabilia and coins for Collectors Universe. Other Collectors Universe
companies include Professional Sports Authenticator (PSA) and Professional Coin Grading
Service (PCGS), both trusted leaders in their respective industries. This acquisition builds on
the company’s mission to provide every hobbyist and alternative investor with the best
customer experience, tools and information available.

“Collectibles across categories, including trading cards and sports memorabilia, are now
firmly considered an alternative investment class by both hobbyists and investors,” said Nat
Turner, Executive Chairman of Collectors Universe. “With those categories seeing a
stratospheric rise recently, we’ve identified video games as the next area primed for similar
expansion. We’re partnering with Wata because they are the experts in video game grading
and there’s simply no other way to recreate the amazing and trusted company they have
built.”

Wata will continue to operate as a standalone business with existing leadership. This
expansion into the video game industry follows the acquisition of Collectors Universe earlier
this year by an investor group led by Turner -- a longtime collector of sports cards and
collectibles -- as well as D1 Capital Partners L.P. and Cohen Private Ventures, LLC.

About Collectors Universe

Collectors Universe, Inc. is a leading provider of value-added services to the collectibles
markets. The Company authenticates and grades collectible coins, trading cards, event
tickets, autographs and memorabilia (“collectibles”). The Company also compiles and
publishes authoritative information about United States and world coins, collectible trading
cards and sports memorabilia and operates its CCE dealer-to-dealer Internet bid-ask market
for certified coins and its Expos trade show and conventions business. This information is
accessible to collectors and dealers at the Company's website,
http://www.collectorsuniverse.com, and is also published in print.




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                    EXHIBIT 19
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                                              Kahn - President, Wata Filed
                                                                     Games -07/01/22        Page
                                                                             Collectors Universe     48 of 65 Page ID
                                                                                                 | LinkedIn
                                                         #:299
                                                    Deniz Kahn




    Deniz Kahn
    President, Wata Games
    Costa Mesa, California, United States · 286 connections


         Sign in to connect


            Collectors Universe

            Georgetown University - The
            McDonough School of Business

            Websites




    About
    Entrepreneur / Innovator / Idealist / Collector




    Activity
https://www.linkedin.com/in/denizkahn/                                                                                  1/11
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                    EXHIBIT 20
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Business Operations Specialist, WATA (Entry Level)
Collectors Universe • Santa Ana, California


  Apply Now




We are curr​​ently hiring an Operations Specialist to join the Wata team. This is a great
opportunity to help continue to build Wata Games. Wata recently launched its new Modern
grading services for additional consoles increasing the submissions and demand for graded
games.

This role will report to the Senior Manager of Business Operations at Wata and will work out of
Santa Ana, California headquarters.

What You’ll Do

Export & format data from the Wata grading system that will be printed on labels

    Review labels to ensure print quality and accuracy
    Match approved labels with correct games to ensure accuracy
    Assist with the management of game crates and racks to ensure lead times are met
    Perform QC checks on encapsulated games to ensure they met expectations prior to
    shipment
    Perform other duties as assigned

Who You Are

    High School or equivalent education background
    Self-motivated individual, eager to start or continue a career in operations
    Ability to lift and carry heavy boxes/crates filled with high value collectibles
    Process oriented with strong attention to detail
    Strong time management skills and an ability to work under deadlines
    Enthusiastic team player with a willingness to learn
    Familiar with Excel & Google WorkSpace (Gmail, Google Docs/Sheets, etc.)
Reasons ToCase
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                Us:                  Document 25-1 Filed 07/01/22 Page 51 of 65 Page ID
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    Health Insurance: All full-time employees are eligible to enroll in Medical, Dental, and Vision
    401(K) Matching Plan: We are proud to offer a competitive 401k matching plan to our
    employees to support their future financial goals
    Vacation: All full-time employees are eligible for paid vacation
    Holiday Pay: All regular, full-time employees are eligible for ten company paid holidays
    Employee Discounts: Employees receive discounts on select grading services for approved
    submissions
    Fun Working Environment: Our team members are invited to participate in celebrations,
    holiday events, and team building activities

Roles advertised as remote eligible are not open to applicants in Colorado and may not be
performed in Colorado.

Collectors may use e-verify to validate my ability to work legally in the United States.

For your knowledge, the states we will be using e-verify are the 6 states we operate in that
require E-verify: Alabama, Arizona, Georgia, North Carolina, Tennessee, and Utah.
We are aware that there are instances where individuals are receiving job offers that
fraudulently allege to be from Collectors or one of our business units. This type of fraud can be
carried out through false websites, through fake e-mails claiming to be from the company or
through social media. We never ask for personal information such as your bank account, Social
Security numbers or National IDs, nor do we send or request payments for the purchase of
business-related equipment. If you suspect fraud, please reach out to jobs@collectors.com.

About Collectors

Collectors is the leading provider of value-added services to the collectible’s markets. We
authenticate and grade collectible coins, trading cards, video games, event tickets, autographs,
and memorabilia through our subsidiaries, which include Professional Sports Authenticators
(PSA), Professional Coin Grading Services (PCGS), Certified Coin Exchange (CCE), Wata, Card
Ladder, Collectors Corner, Set Registry, Collectors.com, and the Long Beach Expo collectibles
trade show. Since our founding in 1986, we have graded and authenticated more than 80 million
items. We employ over 1,000 people across our Santa Ana, CA headquarters, New Jersey,
Seattle, Hong Kong, Paris, Shanghai and Tokyo. For more information, visit
http://www.collectors.com.

We are committed to equal employment opportunity regardless of race, color, ethnicity,
ancestry, religion, national origin, gender, sex, gender identity or expression, sexual orientation,
age, citizenship, marital or parental status, disability, veteran status, or other class protected by
applicableCase
            law. We  believe that a team thatDocument
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                                                                       backgrounds,
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and skills will better service the diverse community of collectors we support.

If you require an accommodation to apply or interview with us due to a disability or special need,
please email people@collectors.com.

If you are based in California, you can read information for California residents linked here.


   Apply Now




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                                                 Legal & Privacy

                                                    Contact

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                     EXHIBIT 21
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                                                         Associations). The basic search performs a contains ?keyword? search. The
                                                         Advanced search allows for a ?starts with? filter. To search entities that have a
                                                         status other than active or to refine search criteria, use the Advanced search
                                                         feature.

                                                   Advanced Search

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                                                         information or a status other than active.
                                                         An Advanced search allows for searching by specific entity types (e.g.,
                                                         Nonprofit Mutual Benefit Corporation) or by entity groups (e.g., All
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                        California Secretary of State
                         Business Programs Division
                         1500 11th Street, Sacramento, CA 95814




 Request Type: Certified Copies                                   Issuance Date: 06/29/2022
 Entity Name: COLLECTORS UNIVERSE, INC.                           Copies Requested: 1
 Formed In: DELAWARE                                              Receipt No.: 002075263
 Entity No.: 2158483                                              Certificate No.: 025924028
 Entity Type: Stock Corporation - Out of State -
              Stock

                                          Document Listing

 Reference #           Date Filed           Filing Description                      Number of Pages
 16466696-1            12/16/2021           Statement of Information                              2

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 I, SHIRLEY N. WEBER, PH.D., California Secretary of State, do hereby certify on the Issuance Date, the
 attached document(s) referenced above are true and correct copies and were filed in this office on the
 date(s) indicated above.


                                                   IN WITNESS WHEREOF, I execute this
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                                                      SHIRLEY N. WEBER, PH.D.
                                                      Secretary of State


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                                                            Corporation - Statement of Information
                                                                                        Entity Name:          COLLECTORS UNIVERSE, INC.



                                                                                 Entity (File) Number:        C2158483
                                                                                                 File Date:   12/16/2021
                                                                                              Entity Type:    Corporation
                                                                                              Jurisdiction:   DELAWARE
                                                                                          Document ID:        H040262

                                                            Detailed Filing Information

                                                            1. Entity Name:                                        COLLECTORS UNIVERSE, INC.


                                                            2. Business Addresses:
Certificate Verification No.: 025924028 Date: 06/29/2022




                                                                a. Street Address of Principal
                                                                   Office in California:                           1610 East Saint Andrew Place, Suite 150
                                                                                                                   Santa Ana, California 92705
                                                                                                                   United States of America


                                                                b. Mailing Address:                                1610 East Saint Andrew Place, Suite 150
                                                                                                                   Santa Ana, California 92705
                                                                                                                   United States of America



                                                                c. Street Address of Principal
                                                                   Executive Office:                               1610 East Saint Andrew Place, Suite 150
                                                                                                                   Santa Ana, California 92705
                                                                                                                   United States of America
                                                                                                                                                              Document ID: H040262


                                                            3. Officers:

                                                                a. Chief Executive Officer:                        Nathaniel Snead Turner
                                                                                                                   1610 East Saint Andrew Place, Suite 150
                                                                                                                   Santa Ana, California 92705
                                                                                                                   United States of America

                                                                b. Secretary:                                      Roxana Jamshidi
                                                                                                                   1610 East Saint Andrew Place, Suite 150
                                                                                                                   Santa Ana, California 92705
                                                                                                                   United States of America

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                                                                                             #:312
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                                                            Officers (cont'd):
                                                                c. Chief Financial Officer:                          Jason Harinstein
                                                                                                                     1610 East Saint Andrew Place, Suite 150
                                                                                                                     Santa Ana, California 92705
                                                                                                                     United States of America


                                                           4. Director:                                              Not Applicable



                                                                Number of Vacancies on the Board of
                                                                Directors:                                           Not Applicable

                                                           5. Agent for Service of Process:                          Michele Taylor
                                                                                                                     1610 East Saint Andrew Place, Suite 150
                                                                                                                     Santa Ana, California 92705
                                                                                                                     United States of America

                                                           6. Type of Business:
                                                                                                                     Grading and Authentication of
Certificate Verification No.: 025924028 Date: 06/29/2022




                                                                                                                     Collectibles



                                                                By signing this document, I certify that the information is true and correct and that I am authorized by
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                                                                Electronic Signature:   Michele Taylor

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                                                                    One Atlantic Center
                                                                1201 West Peachtree Street
                                                                  Atlanta, GA 30309-3424
                                                             404-881-7000 | Fax: 404-253-8567


     Jason Rottner                                             Direct Dial: 404-881-4527                Email: jason.rottner@alston.com

                                                                      June 8, 2022

    VIA EMAIL AND
    CERTIFIED MAIL

    Janeen Carlberg, Esq.
    Law Offices of Janeen Carlberg
    1912 N. Broadway, Suite 106
    Santa Ana, California 92706
    jcarlberg@lawfirmoc.com

                   Re:           Response to Notice of California Consumer Legal Remedies Act
                                 (“CLRA”), Cal. Civil Code §§ 1750 et seq.

    Dear Ms. Carlberg :

           I write on behalf of Wata, Inc. (“Wata”) and Collector’s Universe, Inc.
    (“Collectors”) in response to your May 9, 2022 letter purporting to provide notice of
    alleged violations of the California Consumer Legal Remedies Act (“CLRA”).

           Wata and Collectors dispute the allegation in your letter that they engaged in any
    deceptive trade practices in connection with the estimated turnaround times for games
    submitted to Wata. As your letter acknowledges, the turnaround times were specifically
    designated as mere “estimates” on Wata’s website. And, as your letter also acknowledges,
    Wata updated those estimates at various times.

            Wata denies that any violation of the CLRA occurred. Your letter—and the
    contemporaneously-filed class action lawsuit—do not allege actionable misrepresentations
    or omissions by either Wata or Collectors. In any event, the allegations are not suitable for
    class-wide resolution given the myriad of individual differences in customer experiences.
    Additionally, neither Jack Cribbs nor Jason Dohse have standing to bring CLRA claims,
    as they suffered their alleged injuries in Michigan and Iowa, respectively. (See Compl. ¶¶
    12-13). Their claims appear to have no relation to California whatsoever. Each submitted
    games to Wata in Colorado for grading and encapsulation. According to your complaint,
    Wata did not move its operations from Colorado to California until January 2022, which
    was after both Mr. Cribbs and Mr. Dohse allegedly submitted their games to Wata. (See
    id. ¶¶ 15, 78, 98). And, consistent with Mr. Cribbs’ allegation that he received his games
    back before Wata moved its operations to California, we confirmed that neither Mr. Cribbs’
    nor Mr. Dohse’s games were ever in California. (See id. ¶ 94). Under those circumstances,
    neither Mr. Cribbs nor Mr. Dohse can assert CLRA claims against Wata and Collectors,
    nor can you assert a CLRA claim on behalf of a nationwide class. See Reed v. Dynamic


    Atlanta | Beijing | Brussels | Charlotte | Dallas | Los Angeles | New York | Research Triangle | San Francisco | Silicon Valley | Washington, D.C.
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    Janeen Carlberg
    June 8, 2022
    Page 2


    Pet Prods., No. 15-cv-0987, 2015 U.S. Dist. LEXIS 100540, at *24 (S.D. Cal. July 30,
    2015) (dismissing CLRA claims of “non-California plaintiffs” and also to the extent they
    were brought “on behalf of non-California residents”).

            Moreover, neither your letter nor the complaint identify even a single representation
    or omission made by Collectors—as opposed to Wata. Nor does your letter suggest that
    your clients ever did business with Collectors or that Collectors said or did something
    unlawful (under the CLRA or otherwise). At the very least, you should dismiss the claims
    asserted against Collectors. If you believe you have a good faith basis to assert a claim
    against Collectors, please let us know what that basis is as soon as possible.

            Finally, your letter demands that Wata “change its website to accurately reflect true
    turnaround estimates.” We can confirm that Wata’s website accurately reflects current
    estimated turnaround times. That should resolve the issue. Unless you have information
    suggesting otherwise, please confirm that you will dismiss the claim for injunctive relief
    in the pending complaint. See Gaines v. GM Co., No. 17-cv-1351, 2019 U.S. Dist. LEXIS
    29716, at *13 (S.D. Cal. Feb. 25, 2019) (holding that CLRA claim for “injunctive relief to
    prevent future violations” had been mooted by current circumstances).

           Wata and Collectors reserve all rights and remedies under the law. If you have any
    questions or comments regarding the above, please do not hesitate to contact me.

                                                  Sincerely yours,




                                                  Jason Rottner
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    1                              CERTIFICATE OF SERVICE
    2         I hereby certified that on July 1, 2022, I electronically filed
    3   DECLARATION OF JANEEN CARLBERG IN SUPPORT OF MOTION
    4   TO TRANSFER VENUE with the Clerk of the Court for the United States
    5   District Court, Central District by using the Court’s CM/ECF system.
    6         Participant in the case who are registered CM/ECF users will be served by
    7   the Court’s CM/ECF system.
    8         I declare under penalty of perjury under the laws of the United States that
    9   the forgoing is true and correct.
   10         Executed on the 1st day of July, 2022, at Santa Ana, California.
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   12                                                            /s/ Janeen Carlberg
                                                                 Janeen Carlberg
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         DECLARATION OF CARLBERG AND EXHIBITS IN SUPPORT OF OPPOSITION TO MOTION TO TRANSFER VENUE
